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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT

JOHN KOE, a pseudonym,                                )
                                                      )
      Plaintiff-Appellant,                            )
                                                      )
v.                                                    )      No. 22-3952
                                                      )
UNIVERSITY HOSPITALS HEALTH                           )
SYSTEM INC., et al.,                                  )
                                                      )
      Defendants-Appellees.                           )


 PETITION FOR REHEARING EN BANC AND PANEL REHEARING


The Panel Overlooked the Principle of Party Presentation

      "The premise of our adversarial system is that appellate courts do not sit as

self-directed boards of legal inquiry and research, but essentially as arbiters of

legal questions presented and argued by the parties before them.” Carducci v.

Regan, 714 F.2d 171, 177 (D.C. Cir. 1983) (Scalia, J.) “The rule that points not

argued will not be considered is more than just a prudential rule of convenience; its

observance, at least in the vast majority of cases, distinguishes our adversary

system of justice from the inquisitorial one.” United States v. Burke, 504 U.S. 229,

246 (1992) (Scalia, J., concurring). “[A] federal court does not have carte blanche

to depart from the principle of party presentation basic to our adversary system.”

Wood v. Milyard, 566 U.S. 463, 472 (2012). In United States v. Sineneng-Smith,

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140 S. Ct. 1575, 1578 (2020), the Supreme Court held that a Ninth Circuit appeals

panel departure from the principle of party presentation constituted an abuse of

discretion. The Supreme Court vacated the judgment and remanded the case for an

adjudication of the appeal attuned to the case shaped by the parties rather than the

case designed by the appeals panel. Id. The Supreme Court emphasized that courts

are only justified in sua sponte raising issues and arguments only in exceptional

circumstances like protecting “a pro se litigant’s rights.” Id.

      In this case, the problem is that the panel overlooked questions and

arguments raised by both parties and raised a new argument to the detriment of the

self-represented appellant’s rights, including his right to seek redress in court.


The Panel Overlooked the Facts in This Case

      Plainly, the panel opinion fails to accurately and fairly portray the factual

record and sequence of events in case. Critically, the district court in that case did

not afford Koe notice or leave to amend before the 28 U.S.C. § 1915(e) sua sponte

dismissal of his case and entry of separate judgment dismissing all claims on

October 13, 2022. Accordingly, Koe did not have—and could not have

had—any notice of impending dismissal or opportunity to correct a

procedural deficiency or comply with an order of the court. The panel

overlooked that there is no sanctions order imposing dismissal. The

panel overlooked that the facts of this case are different than Doe v.

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Carson, Nos. 19-1566/19-1714, 2020 WL 2611189 (6th Cir. May 6, 2020).


The Panel Overlooked The Prejudice to Koe’s Rights

      The panel overlooks Koe’s argument—preserved below and on

appeal—that the dismissal despite its label operates with prejudice

because it left him time-barred to refiling his claims. See Wilson v.

Grumman Ohio Corp., 815 F.2d 26, 28 (6th Cir. 1987)(noting a prior panel

decision holding “a timely complaint later dismissed without prejudice did not toll

the statutory filing period of Title VII even though the order of dismissal purported

to permit a refiling within thirty days of its entry.”) (citing Hall v. Kroger Baking

Co.,520 F.2d 1204 (6th Cir. 1975)). A post-judgment motion is not a substitute for

an appeal. Gencorp, Inc. v. Olin Corp., 477 F.3d 368, 373 (6th Cir. 2007)( “A Rule

60(b) motion is neither a substitute for, nor a supplement to, an appeal.”). A district

court is without the authority to shorten the time limit for filing a motion seeking

relief from judgment or otherwise interfere with the right to seek appellate review.

28 U.S.C. § 2072(b); Fed. R. Civ. P. 83; Fed. R. Civ. P. 82.


The Purpose of the Rules is to Reach Decisions on The Merits

      The panel overlooked the purpose of the rules of procedure. As the Supreme

Court has said, “[i]t is too late in the day and entirely contrary to the

spirit of the Federal Rules of Civil Procedure for decisions on the merits


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to be avoided on the basis of such mere technicalities." Foman v. Davis,

371 U.S. 178, 181-82 (1962). "The Federal Rules reject the approach

that pleading is a game of skill in which one misstep by counsel may be

decisive to the outcome and accept the principle that the purpose of

pleading is to facilitate a proper decision on the merits." Id.(quoting

Conley v. Gibson, 355 U.S. 41, 48.) Rule 61 provides "[a]t every stage of

the proceeding, the court must disregard all errors and defects that do

not affect any party's substantial rights." Fed. R. Civ. P. 61.


Conclusion

      For the above reasons, plenary review and further proceedings are

warranted. Koe requests leave to supplement this filing.


Dated: March 22, 2024
                                                  Respectfully submitted,

                                                   ~~
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                                                  Plaintiff-Appellant, pro se




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                       NOT RECOMMENDED FOR PUBLICATION

                                           No. 22-3952

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT


JOHN KOE, a pseudonym,                                   )
                                                         )
       Plaintiff-Appellant,                              )
                                                         )   ON APPEAL FROM THE UNITED
v.                                                       )   STATES DISTRICT COURT FOR
                                                         )   THE NORTHERN DISTRICT OF
UNIVERSITY HOSPITALS HEALTH SYSTEMS,                     )   OHIO
INC., et al.,                                            )
                                                         )
       Defendants-Appellees.                             )

                                               ORDER


       Before: SUTTON, Chief Judge; NORRIS and SILER, Circuit Judges.


       John Koe, an anonymous pro se Ohio plaintiff, appeals the district court9s dismissal of his
federal employment-discrimination and retaliation complaint without prejudice upon initial
screening under 28 U.S.C. § 1915(e) for lack of jurisdiction. This case has been referred to a panel
of the court that, upon examination, unanimously agrees that oral argument is not needed. See
Fed. R. App. P. 34(a). We affirm for the reasons that follow.
       Koe was a medical resident at Case Western Reserve University/University Hospitals
Cleveland Medical Center from June 2019 until he was discharged in April 2021, ostensibly
because he lost his privileges to practice at the Cleveland Veterans Affairs Medical Center. Koe
claimed, however, that he was terminated because he resisted having to participate in unspecified
mental health counseling through the hospital9s employee assistance program (EAP). Koe9s
complaint is unclear as to what prompted his supervisors to order this counseling. Koe claimed,
however, that the hospital9s use of the EAP in this fashion was abusive, and he filed a complaint
with the National Labor Relations Board and the Equal Employment Opportunity Commission
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over this practice. Koe also complained to his supervisors that one of his colleagues subjected him
to a hostile work environment by quizzing him about his family9s medical history.
       Koe, proceeding pro se and in forma pauperis, filed this employment-discrimination and
retaliation action1 against University Hospitals Health System, Inc. and University Hospitals
Cleveland Medical Center. In the complaint, Koe moved the district court for permission to
proceed anonymously, arguing that bringing this action would require him to disclose unspecified
information of the <utmost intimacy= from his counseling sessions. Koe further contended that
<medical decisions relating to his health care and treatment are sensitive and personal matters
warranting use of a pseudonym.= And he suggested that not allowing him to proceed anonymously
would violate the Americans with Disabilities Act9s provisions concerning the privacy of medical
information.
       The defendants responded with a motion to dismiss, arguing that the court lacked
subject-matter jurisdiction over the case because, by proceeding anonymously, Koe had not
properly commenced an action under Federal Rules of Civil Procedure 3, 7, and 10. Additionally,
the defendants asked the district court to issue a protective order under Federal Rule of Civil
Procedure 26(c)(1) to prohibit Koe from communicating directly with their officers, employees,
and affiliates, and to direct all of his communications concerning the lawsuit to their trial counsel.
The defendants attached to their motion copies of emails that Koe had sent to some of his former
colleagues that the recipients viewed as harassing and correspondence that Koe had sent to the
defendants9 directors in which he disparaged their trial counsel. The district court granted the
defendants9 motion for a protective order before Koe had an opportunity to respond because they
had demonstrated <consistent and routine inappropriate communications from pro se Plaintiff John
Koe directly to various employees of the Defendants.=
       The district court granted Koe9s motion to proceed in forma pauperis, reviewed his
complaint to determine whether it was subject to dismissal under § 1915, and concluded that he

       1
          Koe brought claims under the Americans With Disabilities Act, 42 U.S.C. § 12112, et
seq., Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., and the Genetic
Information Nondiscrimination Act of 2008, 42 U.S.C. § 2000ff, et seq.
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had not established good cause to proceed anonymously. Although Koe had alleged that the
lawsuit would require him to disclose intimate information, the court found that he had not shown
that his case was different from cases brought by other persons with mental-health disabilities.
Further, the court found that Koe had not identified any specific harm that would result from the
disclosure of his identity. Finally, the court reasoned that the factual allegations in Koe9s
complaint, including his medical specialty, dates of employment, and the names of the persons
involved in the EAP assessment, made it easy to identify him. The court concluded therefore that
Koe9s privacy interests did not outweigh the presumption in favor of open judicial proceedings.
And because Koe was not entitled to proceed anonymously, the district court dismissed the
complaint without prejudice for lack of jurisdiction.
       The district court gave Koe the opportunity to reopen the case by filing an amended
complaint identifying himself within 14 days. Instead of filing an amended complaint, Koe moved
under Federal Rule of Civil Procedure 59(e) to alter or amend the judgment. The district court
denied that motion.
       On appeal, Koe argues that the district court erred in concluding that it lacked jurisdiction
over the case due to his use of a pseudonym. Further, Koe contends that the district court denied
him a full and fair opportunity to establish that he should be allowed to proceed anonymously.
Lastly, Koe argues that the district court9s protective order violated his rights under the First
Amendment and the Norris-LaGuardia Act.
       A complaint usually must state the names of all parties. Fed. R. Civ. P. 10(a). A district
court may, however, permit a party to proceed anonymously after considering, among other
factors, whether the case challenges government activity, whether the party would be compelled
to disclose <information of the utmost intimacy= or <an intention to violate the law,= and whether
the party is a child. Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004) (quotation omitted).
<Examples of areas where courts have allowed pseudonyms include cases involving 8abortion,
birth control, transexuality, mental illness, welfare rights of illegitimate children, AIDS, and
homosexuality.9= Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011) (quoting Doe v. Borough of
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Morrisville, 130 F.R.D. 612, 614 (E.D. Pa. 1990)). <But the fact that a case involves a medical
issue is not a sufficient reason for allowing the use of a fictitious name, even though many people
are understandably secretive about their medical problems.= Doe v. Blue Cross & Blue Shield
United of Wis., 112 F.3d 869, 872 (7th Cir. 1997). The key inquiry is whether the party9s interest
in privacy outweighs the presumption in favor of open judicial proceedings. D.E. v. John Doe,
834 F.3d 723, 728 (6th Cir. 2016); Porter, 370 F.3d at 560. We review a district court9s decision
denying a party permission to proceed anonymously for an abuse of discretion. Cf. Porter, 370
F.3d at 560.
       In this case, Koe claimed only that his lawsuit would require him to disclose undescribed
intimate information from his counseling sessions. But Koe did not specify how he would be
harmed by the disclosure of his identity. See Does I thru XXIII v. Advanced Textile Corp., 214
F.3d 1058, 1068 (9th Cir. 2000) (holding that an anonymous party9s fear of harm must be
reasonable). And Koe could have been protected from the disclosure of private or embarrassing
information that he revealed in his counseling sessions by filing the records under seal. See Blue
Cross, 112 F.3d at 872 (<Should 8John Doe9s9 psychiatric records contain material that would be
highly embarrassing to the average person yet somehow pertinent to this suit and so an appropriate
part of the judicial record, the judge could require that this material be placed under seal.=).
       Koe9s case is therefore materially indistinguishable from Doe v. Carson, Nos. 19-1566/19-
1714, 2020 WL 2611189 (6th Cir. May 6, 2020). Like Koe in this case, the plaintiff in Carson
claimed that she was discriminated against on the basis of a mental disability and wanted to
proceed under a pseudonym to avoid the stigma associated with mental illness. <But Doe failed
to identify any exceptional circumstances distinguishing her case from other cases brought by
plaintiffs claiming disability discrimination who suffer from mental illness.= Id. at *3. Moreover,
Doe did not identify <any specific harm arising from disclosure of her identity.= Id. We concluded
therefore that the district court did not abuse its discretion in refusing the plaintiff permission to
proceed anonymously. See id.
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       It is true that the district court might have erred in dismissing Koe9s complaint for lack of
jurisdiction. Compare Citizens for a Strong Ohio v. Marsh, 123 F. App9x 630, 637 (6th Cir. 2005)
(<[T]he federal courts lack jurisdiction over the unnamed parties, as a case has not been
commenced with respect to them.= (quoting Nat9l Commodity & Barter Ass9n v. Gibbs, 886 F.2d
1240, 1245 (10th Cir. 1989))), with B.R. v. F.C.S.B., 17 F.4th 485, 496 (4th Cir. 2021) (suggesting
that Gibbs is a <drive-by jurisdictional ruling= and holding that pseudonymous filings do not affect
the subject-matter jurisdiction of federal courts) (quoting Steel Co. v. Citizens for a Better Env9t,
523 U.S. 83, 91 (1998))); but see M.A.C. v. Gildner, 853 F. App9x 207, 210 (10th Cir. 2021)
(adhering to circuit precedent that <proceeding anonymously without permission is a jurisdictional
defect that may (and, indeed, must) be raised sua sponte=). Nevertheless, dismissal of Koe9s
complaint for failure to comply with Rule 10(a) would have been appropriate. See Carson, 2020
WL 2611189, at *3; Doe v. Kamehameha Schs./Bernice Pauahi Bishop Est., 596 F.3d 1036, 1045-
46 (9th Cir. 2010). Consequently, the district court9s conclusion that it lacked subject-matter
jurisdiction over Koe9s complaint was at worst a harmless error. See 28 U.S.C. § 2111; see also
Seaton v. TripAdvisor LLC, 728 F.3d 592, 601 n.9 (6th Cir. 2013) (<[W]e may affirm the district
court9s judgment on any basis supported by the record.=).
       We also reject Koe9s contention that he did not have a fair opportunity to make his case to
proceed anonymously. Koe included a motion to proceed under a pseudonym in his complaint,
and he presented his reasons for using an alias and cited case law in support of that argument.
Moreover, the defendants filed a motion to dismiss on the ground that Koe did not move for
permission to proceed under a pseudonym before filing his complaint. Although Koe did not
respond to that motion, he did file a Rule 59(e) motion that reiterated and amplified his reasons for
proceeding under a pseudonym. In sum, the record shows that Koe had a fair opportunity to
present his position to the district court. Cf. Smith v. Perkins Bd. of Educ., 708 F.3d 821, 831 (6th
Cir. 2013); Nagarajan v. Jones, 33 F. App9x 791, 792 (6th Cir. 2002).
       Accordingly, we affirm the district court9s dismissal of Koe9s complaint without prejudice.
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                                          We conclude, however, that Rule 26(c)(1) did not authorize the district court to enter the
                                   protective order requested by the defendants. Rule 26(c)(1) governs harassing and burdensome
                                   discovery requests. See Serrano v. Cintas Corp., 699 F.3d 884, 901 (6th Cir. 2012). But here, the
                                   defendants were not seeking relief from improper discovery requests. Rather, they requested and
                                   received what amounts to a no-contact order because of Koe9s allegedly harassing emails and
                                   correspondence to their officers and employees. Rule 26(c)(1) plainly does not apply in this
                                   situation. See Violette v. P.A. Days, Inc., 427 F.3d 1015, 1017 (6th Cir. 2005) (<[C]ourts must
                                   begin their interpretation of the Federal Rules, as with other laws, 8with the language employed by
                                   Congress and the assumption that the ordinary meaning of that language accurately expresses the
                                   legislative purpose.9= (quoting Park 8N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 194
                                   (1985))); Smith v. Ky. Fried Chicken, No. 06-426-JBC, 2007 WL 162831, at *5 (E.D. Ky. Jan. 18,
                                   2007) (<Rule 26(c) deals with protection from abusive and harassing discovery; it is not meant to
                                   limit a party9s communications with other parties.=). And there are state remedies available if
                                   Koe9s allegedly harassing communications continue and are sufficiently severe. See Ohio Rev.
                                   Code § 2903.211(A)(1) (prohibiting a pattern of conduct that knowingly causes mental distress to
                                   another person).
                                          For these reasons, we AFFIRM the district court9s judgment, and we REMAND the case
                                   to the district court with instructions to vacate the protective order.


                                                                                  ENTERED BY ORDER OF THE COURT




                                                                                  Kelly L. Stephens, Clerk




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